          Case 22-90005-LT                Filed 11/28/23       Entered 11/28/23 14:29:08             Doc 63       Pg. 1 of 5
CSD 3000A [07/01/18]
Name, Address, Telephone No. & I.D. No.

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                                                                                                November 28, 2023
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                    UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
                    325 West F Street, San Diego, California 92101-6991

In Re
SARA ORTEGA DE BURQUEZ

                                                                            Debtor.        BANKRUPTCY NO. 21-04162-LT7


SARA ORTEGA DE BURQUEZ
                                                                                           ADVERSARY NO. 22-90005-LT
                                                                            Plaintiff(s)

v.                                                                                         Date of Hearing: N/A
U.S. DEPARTMENT OF EDUCATION
                                                                                           Time of Hearing: N/A
                                                                            Defendant(s)   Name of Judge:    Hon. Laura Taylor


                                                   ORDER ON
                                    STIPULATION TO DISCHARGE AND DISMISSAL

           The court orders as set forth on the continuation pages attached and numbered             2      through   5   with

 exhibits, if any, for a total of   5     pages. Motion/Application Docket Entry No.       62    .

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 DATED:         November 28, 2023
                                                                          Judge, United States Bankruptcy Court




CSD 3000A
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ORDER ON       STIPULATION TO DISCHARGE AND DISMISSAL
DEBTOR: SARA ORTEGA DE BURQUEZ                                                              CASE NO.: 21-04162-LT7
                                                                                            ADV. NO.: 22-90005-LT

Plaintiff Sara Ortega de Burquez and Defendant U.S. Department of Education, through their respective counsel of record,
filed the attached "Stipulation to Discharge and Dismissal" (the "Stipulation"). The Court, having read and considered the
Stipulation, with good cause appearing, orders as follows:

1. The Stipulation is granted.

2. Plaintiff satisfies the criteria for discharge due to an "undue hardship" under 11 U.S.C. § 523(a)(8).

3. The Department of Education-held student loans owed by Plaintiff are hereby discharged pursuant to 11 U.S.C. § 523(a)
(8).

4. The above-captioned adversary proceeding is dismissed with prejudice, with the parties bearing their own costs,
expenses, and fees.

IT IS SO ORDERED.




CSD 3000A
                                                                          Signed by Judge Laura Stuart Taylor November 28, 2023
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                                                                                               3




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   Attorneys for Defendant
14 U.S. Department of Education
15
16                     UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
17
18 In re: SARA ORTEGA DE BURQUEZ        Adversary Case No.: 22-90005-LT
                                        Bankruptcy Case No.: 21-04162-LT7
19                             Debtor,
20   SARA ORTEGA DE BURQUEZ,
21
                              Plaintiff,            STIPULATION TO DISCHARGE
22                v.                                AND DISMISSAL
23   U.S. DEPARTMENT OF EDUCATION
24                            Defendant.
25
26
27
28


                                                        Signed by Judge Laura Stuart Taylor November 28, 2023
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 1           IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff Sara
 2 Ortega de Burquez and Defendant U.S. Department of Education (Education) as follows:
 3
 4
                                                  RECITALS
 5
             A.       Plaintiff filed a Chapter 13 bankruptcy petition on October 26, 2021.
 6
             B.       On January 26, 2022, Plaintiff filed a complaint, commencing the present
 7
     adversary proceeding to seek the discharge of her student loans obligations under 11 U.S.C.
 8
     § 523(a)(8).
 9
             C.       The parties have been working towards a resolution of the complaint pursuant
10
     to the November 2022 guidance put forth by Education and the U.S. Department of Justice,
11
     and have come to an agreement.
12
             D.       Plaintiff’s repayment of her student loan obligation owing to Education would
13
     impose an undue hardship.
14
             E.       In view of the imposed undue hardship on Plaintiff, the parties agree her
15
     student loan obligations to Education should be declared dischargeable under 11 U.S.C.
16
     § 523(a)(8).
17
             F.       Upon entry of an order approving this Stipulation, Education will adjust
18
     Plaintiff’s loan amounts to reflect that the balance for the student loans at issue are $0, and
19
     it shall permanently write-off the debt pursuant to this Stipulation.
20
             G.       Upon the entry of an order approving this Stipulation, the present adversary
21
     proceeding will be dismissed with prejudice, with the parties bearing their own costs,
22
     expenses, and fees.
23
24
                                                 AGREEMENT
25
             Subject to the approval of the Bankruptcy Court, Plaintiff’s student loan obligations
26
     ///
27
     ///
28
     Stipulation to Discharge
                                                       2                                            22-90005-LT7

                                                              Signed by Judge Laura Stuart Taylor November 28, 2023
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 1 to Education are declared dischargeable under 11 U.S.C. § 523(a)(8) and this matter is
 2 dismissed with prejudice.
 3 IT IS SO STIPULATED.
 4
 5 Date: November 22, 2023                              Respectfully submitted,
                                                        FRANK WALKER
 6
 7                                                         s/ Frank Walker
                                                           FRANK WALKER
 8                                                         Attorney for Plaintiff
 9 Date: November 22, 2023                                 Respectfully submitted,
                                                           TARA K. McGRATH
10                                                         United States Attorney
11
                                                           /s/ Leslie M. Gardner
12                                                         LESLIE M. GARDNER
                                                           Assistant United States Attorney
13                                                         Attorneys for Defendant
14
15                                   SIGNATURE CERTIFICATION
16           Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies and
17 Procedures, I hereby certify that the content of this document is acceptable to Frank Walker,
18 counsel for Plaintiff, and that I have obtained his authorization to affix his signature to this
19 document.
20                                                               /s/ Leslie M. Gardner
                                                                 LESLIE M. GARDNER
21                                                               Assistant United States Attorney
22
23
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25
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27
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     Stipulation to Discharge
                                                       3                                              22-90005-LT7

                                                                Signed by Judge Laura Stuart Taylor November 28, 2023
